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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

    FAITH NJOKU,

                 Plaintiff,
                                               CIVIL ACTION NO. 1:21-cv-01413-
    v.                                         MLB

    WELLSPRING LIVING, INC.,

                 Defendant.



         DEFENDANT’S PRELIMINARY REPORT AND DISCOVERY PLAN

          Pursuant to Federal Rule of Civil Procedure 26(f) and Local Rule 16.2,

Defendant Wellspring Living, Inc. (“Wellspring” or “Defendant”) submits its

Preliminary Report and Discovery Plan, showing the Court as follows:1

1.        Description of Case:

          (a)   Describe briefly the nature of this action.

          This lawsuit is brought by Plaintiff, a former Wellspring employee, against

Wellspring.      Plaintiff appears to assert claims for: (1) alleged failure to pay

minimum wages and/or unpaid overtime under the Fair Labor Standards Act, 29


1
 Wellspring submits this Preliminary Report and Discovery Plan separately from
Plaintiff Faith Njoku (“Plaintiff”) pursuant to Local Rule 16.2, because Plaintiff
has not responded to repeated correspondence from Counsel for Defendant. (See
Ex. A, Declaration of Eric M. Schultz).
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U.S.C. § 216(b) (“FLSA”); and (2) alleged “workplace harassment, unsafe

employee working conditions, failure to respond to harassment complaint and

endangered child abuse” under Civil Rights Act of 1871, 42 U.S.C. § 1983

(“Section 1983”).

      (b)    Summarize, in the space provided below, the facts of this case.
             The summary should not be argumentative nor recite evidence.

      Wellspring is a non-profit organization in Atlanta, Georgia that provides

domestic sex trafficking victims and those at risk of sexual exploitation with

specialized recovery services through residential and community-based programs.

      On March 18, 2020, Wellspring hired Plaintiff as PRN Behavioral Health

Specialist in the Organization’s Receiving Hope Center. Wellspring’s offer letter

to Plaintiff stated that “[t]his position is part-time based out of the Receiving Hope

Center on an ‘As Needed’ basis.” Plaintiff’s starting pay was $17.50/hour, and

during her approximately nine-month tenure with the Organization, Wellspring

paid Plaintiff $12,480.36 in overtime earnings for all hours worked for which she

was entitled to overtime and of which Wellspring had actual or constructive

knowledge.

      On December 21, 2020, Plaintiff sent an email to Wellspring’s Human

Resources Manager stating that she was resigning from employment with

Wellspring. In the email, Plaintiff stated: “I have enjoyed being a part of the

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Wellspring Living community and I am grateful that I am leaving the organization

on good terms with no indication of reprimands or behavioral concerns per how I

did my job.”

      (c)      The legal issues to be tried are as follows:

             Whether Plaintiff’s Statement of Claim has stated a claim upon which
              relief could be granted;

             Whether Defendant took any adverse employment action against
              Plaintiff;

             Whether Plaintiff was constructively discharged from employment
              with Defendant;

             Whether Defendant failed to pay Plaintiff minimum wages for any
              hours she worked for which Defendant had actual or constructive
              knowledge;

             Whether Defendant failed to pay Plaintiff overtime wages for any
              hours she worked for which Defendant had actual or constructive
              knowledge;

             Whether Defendant is a state-actor;

             Whether Defendant engaged in conduct under the color of state law
              with respect to Plaintiff’s employment;

             Whether Plaintiff failed to exhaust any statutory, administrative,
              and/or jurisdictional prerequisites to the filing of her Statement of
              Claim;

             Whether Defendant’s other defenses have merit;

             How much, if any, damages should be awarded to Plaintiff; and

             Whether Plaintiff has mitigated her alleged damages, if any.


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      (d)     The cases listed below (include both style and action number) are:

              (i)      Pending Related Cases: None

               (ii) Previously Adjudicated Related Cases: Njoku v. WellSpring
Living, 1:21-cv-783-MLB, dismissed without prejudice on April 23, 2021 for
failure to state a claim. (See Ex. B, April 23, 2021 Order).

2.    This case is complex because it possesses one (1) or more of the features
      listed below (please check): None

                      (1)    Unusually large number of parties
                      (2)    Unusually large number of claims or defenses
      _____           (3)    Factual issues are exceptionally complex
                      (4)    Greater than normal volume of evidence
                      (5)    Extended discovery period is needed
      _____           (6)    Problems locating or preserving evidence
      _____           (7)    Pending parallel investigations or action by government
                      (8)    Multiple use of experts
      _____           (9)    Need for discovery outside United States boundaries
      _____           (10)   Existence of highly technical issues and proof
                     (11)    Unusually complex discovery of electronically stored
                             information

3.    Counsel:

      The following individually-named attorneys are hereby designated as lead

counsel for Defendant:

                    Dionysia L. Johnson-Massie
                    LITTLER MENDELSON, P.C.
                    3424 Peachtree Road, N.E., Suite 1200
                    Atlanta, GA 30326
                    Telephone: (404) 233-0330
                    Facsimile: (404) 233-2361




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4.    Jurisdiction:

      Is there any question regarding this Court’s jurisdiction?

      _____ Yes         X   No

       If “yes” please attach a statement, not to exceed one (1) page, explaining the
jurisdictional objection. When there are multiple claims, identify and discuss
separately the claim(s) on which the objection is based. Each objection should be
supported by authority.

5.    Parties to This Action:

      (a)     The following persons are necessary parties who have not been
              joined:

      None.

      (b)     The following persons are improperly joined as parties:

      None.

      (c)     The names of the following parties are either inaccurately stated or
              necessary portions of their names are omitted:

      Not applicable.

      (d)     The parties shall have a continuing duty to inform the Court of any
              contentions regarding unnamed parties necessary to this action or any
              contentions regarding misjoinder of parties or errors in the statement
              of a party’s name.

6.    Amendments to the Pleadings:

       Amended and supplemental pleadings must be filed in accordance with the
time limitations and other provisions of Fed. R. Civ. P. 15. Further instructions
regarding amendments are contained in L.R. 15.

      (a)     List separately any amendments to the pleadings that the parties


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             anticipate will be necessary:

             Defendant does not anticipate filing amended pleadings at this time.

      (b)    Amendments to the pleadings submitted LATER THAN JUNE 9,
             2021 will not be accepted for filing, unless otherwise permitted by
             law.

7.    Filing Times For Motions:

        All motions should be filed as soon as possible. The local rules set specific
filing limits for some motions. These times are restated below.

      All other motions must be filed BY JUNE 9, 2021, unless the filing party
has obtained prior permission of the court to file later. Local Rule 7.1A(2).

      (a)    Motions to Compel: BEFORE SEPTEMBER 16, 2021 or within the
             extension period allowed in some instances. Local Rule 37.1.

      (b)    Summary Judgment Motions: BY OCTOBER 16, 2021, unless
             otherwise permitted by court order. Local Rule 56.1.

      (c)    Other Limited Motions: Refer to Local Rules 7.2A, 7.2B, and 7.2E,
             respectively, regarding filing limitations for motions pending on
             removal, emergency motions, and motions for reconsideration.

      (d)    Motions Objecting to Expert Testimony: Daubert motions with regard
             to expert testimony no later than the date that the proposed pretrial
             order is submitted. Refer to Local Rule 7.2F.

8.    Initial Disclosures:

      The parties are required to serve initial disclosures in accordance with Fed.
R. Civ. P. 26. If any party objects that initial disclosures are not appropriate, state
the party and basis for the party’s objection. NOTE: Your initial disclosures
should include electronically stored information.           Refer to Fed. R. Civ.
P. 26(a)(1)(B).

      Defendant does not object to serving Initial Disclosures.


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9.    Request for Scheduling Conference:

      Does any party request a scheduling conference with the Court? If so,
please state the issues which could be addressed and the position of each party.

      Defendant requests a scheduling conference with the Court to discuss

Plaintiff’s unresponsiveness as to Defendant’s requests to schedule a Rule 26(f)

conference.

10.   Discovery Period:

       The discovery period commences thirty days after the appearance of the first
defendant by answer to the complaint, WHICH IS MAY 16, 2021. As stated in
L.R. 26.2A, responses to initiated discovery must be completed before expiration
of the assigned discovery period.

       Cases in this Court are assigned to one of the following three discovery
tracks: (a) zero month discovery period, (b) four months discovery period, and (c)
eight months discovery period. A chart showing the assignment of cases to a
discovery track by filing category is contained in Appendix F. The track to which
a particular case is assigned is also stamped on the complaint and service copies of
the complaint at the time of filing.

      Please state below the subjects on which discovery may be needed:

          Plaintiff’s performance while employed by Defendant;

          Plaintiff’s hours worked and wages earned while employed by
           Defendant;

          The reasons Plaintiff resigned from employment with Defendant;

          Damages (including mitigation).

      If the parties anticipate that additional time beyond that allowed by the
assigned discovery track will be needed to complete discovery or that discovery



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should be conducted in phases or be limited to or focused upon particular issues,
please state those reasons in detail below:

      Defendant does not anticipate needing additional time.

11.   Discovery Limitation and Discovery of Electronically Stored
      Information:

      (a)    What changes should be made in the limitations on discovery under
             the Federal Rules of Civil Procedure or Local Rules of this Court, and
             what other limitations should be imposed?

             None.

      (b)    Is any party seeking discovery of electronically stored information?

               X     Yes               No

             If “yes,”

            (i)    The parties have discussed the sources and scope of the
production of electronically stored information and have agreed to limit the scope
of production (e.g., accessibility, search terms, date limitations, or key witnesses)
as follows:

      The Parties have not had the opportunity to discuss the sources and scope of

the production of electronically stored information (“ESI”) because Plaintiff did

not respond to Counsel for Defendant’s repeated requests for scheduling a Rule

26(f) conference.

             (ii) The parties have discussed the format for the production of
electronically stored information (e.g., Tagged Image File Format (TIFF or .TIF
Files), Portable Document Format (PDF), or native), method of production (e.g.,
paper or disk), and the inclusion or exclusion and use of metadata, and have agreed
as follows:


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        The Parties have not had the opportunity to discuss the format for the

production of ESI because Plaintiff did not respond to Counsel for Defendant’s

repeated requests for scheduling a Rule 26(f) conference.

      In the absence of agreement on issues regarding discovery of electronically
stored information, the parties shall request a scheduling conference in paragraph 9
hereof.

12.     Other Orders:

      What other orders do the parties think that the Court should enter under
Rule 26(c) or under Rule 16(b) and (c)?

        Defendant does not believe the Court should enter any such orders at this

time.

13.     Settlement Potential:

        (a)   Lead counsel for the parties certify by their signatures below that they
              conducted a Rule 26(f) conference that was held on [NOT
              APPLICABLE (SEE BELOW)], and that they participated in
              settlement discussions. Other persons who participated in the
              settlement discussions are listed according to party.

Defendant’s Response:

      Counsel for Defendant attempted to contact Plaintiff to schedule a Rule 26(f)
conference via e-mail on April 27, 29, and 30, 2021 at fnjokui681@gmail.com (the
e-mail address listed for Plaintiff on the Statement of Claim she filed in the
Magistrate Court of Fulton County, before Wellspring removed the lawsuit to this
Court), and via telephone on April 30, 2021 at approximately 10:32 AM at the
number listed for Plaintiff on the docket for this case, 404-933-5596, leaving a
voice message for Plaintiff. (See Ex. A, ¶ 3). On April 30, 2021, Counsel for
Defendant also sent a letter via Federal Express, Priority Overnight Delivery, to the
mailing address listed for Plaintiff on the docket for this case, 3200 Lenox Road


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C410, Atlanta, GA 30324, asking Plaintiff to contact Counsel for Defendant so that
the Parties could conduct a Rule 26(f) conference, and Defendant received notice
that the letter was delivered at that address at 11:01 AM on Monday, May 3, 2021.
Id., ¶ 4. To date, Defendant has not received a response from Plaintiff to any of
Counsel for Defendant’s communications. Id., ¶ 5.

      (b)   All parties were promptly informed of all offers of settlement and
            following discussion by all counsel, it appears that there is now:

            (__) A possibility of settlement before discovery.

            (__) A possibility of settlement after discovery.

            (___) A possibility of settlement, but a conference with the judge is
            needed.

            (__) No possibility of settlement.

      (c)   Counsel (__) do or (__) do not intend to hold additional settlement
            conferences among themselves prior to the close of discovery.

      (d)   The following specific problems have created a hindrance to
            settlement of this case.

            Defendant’s Response:

      Plaintiff failed to respond to Counsel for Defendant’s repeated requests for

scheduling a Rule 26(f) conference.

14.   Trial by Magistrate Judge:

      (a)   The parties (___) do consent to having this case tried before a
            magistrate judge of this court.

      (b)   Defendant ( X ) does not consent to having this case tried before a
            magistrate judge of this court.




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Respectfully submitted this 10th day of May, 2021.


                                   /s/ Dionysia Johnson-Massie
                                   Dionysia Johnson-Massie
                                   Georgia Bar No. 393323
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                                   Attorneys for Defendant
                                   Wellspring Living, Inc.




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                                  *****

                          SCHEDULING ORDER

      Upon review of the information contained in Defendant’s Preliminary

Report and Discovery Plan form completed and filed by Defendant, the Court

orders that the time limits for adding parties, amending the pleadings, filing

motions, completing discovery, and discussing settlement are as set out in the

Federal Rules of Civil Procedure and the Local Rules of this Court, except as

herein modified:



IT IS SO ORDERED, this _____ day of                  , 2021.



                                   HONORABLE MICHAEL L. BROWN
                                   United States District Judge
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

FAITH NJOKU,

             Plaintiff,
                                          CIVIL ACTION NO. 1:21-cv-01413-
v.                                        MLB

WELLSPRING LIVING, INC.,

             Defendant.



                          CERTIFICATE OF SERVICE

      I certify that on May 10, 2021, I electronically filed the forgoing

DEFENDANT’S PRELIMINARY REPORT AND DISCOVERY PLAN with

the Clerk of the Court using the CM/ECF system.

      And I hereby do certify that I have mailed by United States Postal Service

the document to the following non-CM/ECF participants:

                          Faith Njoku, pro se
                          3200 Lenox Road C140
                          Atlanta, GA 30324



                                     /s/ Dionysia Johnson-Massie
                                     Dionysia Johnson-Massie
                                     Georgia Bar No. 393323
